                  IN THE UNITED STATES DISTRIT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

VAZQUEZ COMMERCIAL CONTRACTING, LLC )
                                         )
                    Plaintiff,           )
                                         )
vs.                                     )                   No. 4:20-cv-00486-DGK
                                         )
ZIESON CONSTRUCTION COMPANY, LLC, et al.,)
                                         )
                    Defendants.          )

         DEFENDANT PATICK MICHAEL DINGLE’S MOTION TO REMAIND

       Defendant, Patrick Michael Dingle, by counsel, respectfully requests this Court to enter an

Order remanding this case to the Circuit Court of Jackson County, Missouri for the reason that he

does not consent to this case being removed to federal court. Pursuant to 28 U.S.C. § 1446(b) the

instant case cannot be removed to federal court unless all Defendants consent thereto.

       Defendant Dingle incorporates by reference as if fully set forth herein his Suggestions in

Support of Motion to Remand.

       WHEREFORE, Defendant, Patrick Michael Dingle, respectfully requests this Court to

enter its Order remanding this case to the Circuit Court of Jackson County, Missouri.

                                                    Respectfully submitted,

                                                     VAN OSDOL, P.C.
                                                     By: /s/Thomas M. Bradshaw
                                                     Thomas M. Bradshaw, MO #20411
                                                     LEAD COUNSEL
                                                     1000 Walnut Street, Suite 1500
                                                     Kansas City, Missouri 64106
                                                     Phone: (816) 421-0644
                                                     Fax: (816) 421-0758
                                                     TBradshaw@VanOsdolKC.com




{00440912. 1}                        1
         Case 4:20-cv-00486-DGK Document 25 Filed 07/06/20 Page 1 of 2
                                                      MORGAN PILATE LLC
                                                      By: /s/Melanie S. Morgan
                                                      Melanie Morgan, MO #58084
                                                      926 Cherry Street
                                                      Kansas City, Missouri 64106
                                                      Phone: (816) 471-6694
                                                      Fax: (816) 472-3516
                                                      mmorgan@morganpilate.com
                                                      ATTORNEYS FOR DEFENDANT
                                                      MICHAEL PATRICK DINGLE

                                CERTIFICATE OF SERVICE

       On this 6th day of June, 2020, I hereby certify that I served a true and correct copy of the
above and foregoing upon counsel of record filing the same electronically with the Court’s
Electronic Case Management System, which effects service via email upon parties of record.

                                              /s/ Thomas M. Bradshaw
                                             Attorney for Defendant Michael Patrick Dingle




{00440912. 1}                        2
         Case 4:20-cv-00486-DGK Document 25 Filed 07/06/20 Page 2 of 2
